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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                  ____________________


JOHN DOE,                                                    Case No. 1:18-cv-00649

               Plaintiff,                                    Honorable Paul L. Maloney
                                                             Magistrate Judge Ray Kent
v.

AQUINAS COLLEGE and AQUINAS
COLLEGE BOARD OF TRUSTEES and
KEVIN KWIATKOWSKI, STEPHEN
BARROWS, KEVIN QUINN, SANDY
HARLEY, THAD SALTER, and
HEATHER QUAKENBUSH, as agents for
AQUINAS COLLEGE, jointly and severally,

               Defendants.


David A. Nacht (P47034)                             Stephanie R. Setterington (P58177)
Adam M. Taub (P78334)                               Charyn K. Hain (P46931)
NachtLaw, P.C.                                      Varnum LLP
Attorneys for Plaintiff                             Attorneys for Defendants
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                        STIPULATION AND ORDER OF DISMISSAL
                        WITH PREJUDICE AND WITHOUT COSTS

       The parties, through their respective counsel, stipulate and agree that this case, in its

entirety, shall be dismissed against all Defendants with prejudice and with each party to bear its

own costs, expenses and attorneys' fees.

       IT IS SO STIPULATED AND AGREED.



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/s/ David A. Nacht_______                           /s/ Stephanie R. Setterington (w. permission)
David A. Nacht (P47034)                             Stephanie R. Setterington (P58177
Adam M. Taub (P78334)                               Charyn K. Hain (P46931)
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                                  ORDER FOR DISMISSAL

        This matter is before the Court on the parties' Stipulation and Order for Dismissal

seeking to dismiss, with prejudice and with each party to bear its own costs, expenses and

attorneys' fees, this action against Defendants. The Court having reviewed the stipulation,

        IT IS HEREBY ORDERED that this action is dismissed, in its entirety against all

Defendants, with full prejudice and with each party to bear its own costs, expenses, and

attorneys' fees.




                                                    Honorable Paul L. Maloney
                                                    U.S. District Court Judge




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